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 6
                       IN THE UNITED STATES DISTRICT COURT
 7         IN AND FOR THE WESTERN DISTRICT OF WASHINGTON AT SEATTLE

 8   ALBERT CHRIS HESTERMAN, an
     individual, and LORI TROCHIM, an
 9   individual,                                No.

10                                Plaintiffs,   COMPLAINT FOR DAMAGES

11   vs.                                        JURY DEMAND PURSUANT TO
                                                FED.R.CIV.P 38(b)
12   RPM INTERNATIONAL, INC., a
     Delaware Corporation, RPM WOOD
13   FINISHES GROUP, INC. a Nevada
     Corporation, STEWART-MACDONALD,
14   a Delaware Corporation, CHARTPAK,
     INC., a Delaware Corporation, NAKOMA
15   PRODUCTS, LLC, an Illinois
     Corporation, SEAGRAVE COATINGS
16   CORPORATION, a Delaware
     Corporation, H. BEHLEN & BRO. Inc.,
17   MOHAWK FINISHING PRODUCTS,
     ZIPPO MANUFACTURING, a
18   Pennsylvania Corporation, SHELL
     CHEMICAL LP, a Delaware Corporation,
19   SHELL OIL, a Delaware Corporation, 3M
     COMPANY, a Delaware Corporation,
20   SATELLITE CITY, a California
     Corporation, CAIG LABORATORIES,
21   INC, a California Corporation, M.L.
     CAMPBELL, an Ontario, Canada
22   Corporation, THE SHERWIN
     WILLIAMS COMPANY, an Ohio
23   Corporation,

24                              Defendants.

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     COMPLAINT FOR DAMAGES 1                                  MAXWELL GRAHAM
                                                              535 E SUNSET WAY
                                                              ISSAQUAH, WA 98027
                                                              206.527.2000
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 1          COME NOW PLAINTIFFS, by and through their counsel of record, Michael A. Maxwell
 2
     and Thomas J. Degan Jr. of Maxwell Graham, PS, and allege the following cause of action:
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                                               I.      PARTIES
 5
            1.1      Plaintiff Albert Chris Hesterman is a resident of Seattle, Washington.
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            1.2      Plaintiff Lori Trochim is a resident of Seattle, Washington.

 8          1.3      Defendant RPM International, Inc. is a Delaware corporation which regularly

 9   conducts or has conducted business in the State of Washington.
10
            1.4       Defendant RPM Wood Finishes Group, Inc., is a Nevada corporation which
11
     regularly conducts or has conducted business in the State of Washington.
12
            1.5       Defendant Stewart-MacDonald is a Delaware corporation which regularly conducts
13
     or has conducted business in the State of Washington.
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15          1.6       Defendant Chartpak, Inc., is a Delaware corporation which regularly conducts or

16   has conducted business in the State of Washington.

17          1.7       Defendant Nakoma Products, LLC, is an Illinois corporation which regularly
18
     conducts or has conducted business in the State of Washington.
19
            1.8       Defendant Seagrave Coatings Corporation is a Delaware corporation which
20
     regularly conducts or has conducted business in the State of Washington.
21
            1.9       Defendant H. Behlen & Bro. is a corporation which regularly conducts or has
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23
     conducted business in the State of Washington.

24          1.10      Defendant Mohawk Finishing Products is a corporation which regularly conducts

25   or has conducted business in the State of Washington.
26



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 1           1.11      Zippo Manufacturing is a Pennsylvania corporation which regularly conducts or
 2
     has conducted business in the State of Washington.
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             1.12      Shell Chemical, LP, is a Delaware corporation, which regularly conducts or has
 4
     conducted business in the State of Washington.
 5
             1.13      Shell Oil Company, is a Delaware corporation, which regularly conducts or has
 6

 7
     conducted business in the State of Washington.

 8           1.14      3M Company, is a Delaware corporation, which regularly conducts or has

 9   conducted business in the State of Washington.
10
             1.15      Satellite City, is a California corporation, which regularly conducts or has
11

12   conducted business in the State of Washington.

13           1.16      CAIG Laboratories, Inc., is a California corporation, which regularly conducts or

14   has conducted business in the State of Washington.
15
             1.17      M.L. Campbell, is an Ontario, Canada corporation, which regularly conducts or
16
     has conducted business in the State of Washington.
17
             1.18      The Sherwin Williams Company, is an Ohio Corporation, which regularly
18
     conducts or has conducted business in the State of Washington.
19

20           1.19      The above entities are hereinafter referred to as “Defendants”.

21                                       II. JURISDICTION AND VENUE

22           2.1       Plaintiff Albert Chris Hesterman was exposed to chemicals and solvents used,
23
     distributed, manufactured and or/marketed by Defendants in King County, Washington.
24
             2.2       Plaintiffs’ claims against Defendants arise out of the same series of transactions or
25
     occurrences that gave rise to Plaintiffs’ Claims.
26



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 1                                                  III. FACTS
 2
            3.1       Plaintiff Albert Chris Hesterman was employed as a guitar repair technician at The
 3
     Trading Musician in Seattle, Washington, from June 1994-December 17, 2015.
 4
            3.2       During the course of Plaintiff Albert Chris Hesterman’ s employment at The
 5
     Trading Musician Plaintiff Hesterman used products manufactured by Defendants which contained
 6

 7
     Benzene and/or other harmful solvents.

 8          3.3       As the result of said exposure Defendant Albert Chris Hesterman developed acute

 9   lymphoblastic leukemia (ALL).
10
                                               IV. CAUSE OF ACTION
11
            4.1       NEGLIGENCE
12
            4.1.1     Defendants are liable for manufacturing, selling, marketing, distributing, designing
13
     and/or placing in the stream of commerce products that were defective, hazardous and/or
14

15   carcinogenic.

16          4.1.2     Defendants were aware or should have been aware of the dangers associated with

17   exposure to the hazardous chemicals and substances which they manufactured, sold, marketed,
18
     distributed, designed, or placed in the stream of commerce to the end consumer.
19
            4.1.3     Defendants failed to take adequate precautions to warn Plaintiff Albert Chris
20
     Hesterman of the dangers and harm to which Plaintiff was exposed while handling these products,
21
     and failed to adequately instruct Plaintiff in the use of reasonably safe and sufficient apparel and
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23
     protective equipment to protect him from injury caused by exposure to said chemicals and

24   substances.

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 1          4.1.4     Plaintiff Albert Chris Hesterman’s acute lymphoblastic leukemia was proximately
 2
     caused by exposure to said chemicals and substances.
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            4.2       PRODUCTS LIABILITY RCW 7.72.030
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            4.2.1     As alleged more fully above, the products in question were not reasonably safe as
 5
     designed or manufactured, or were not reasonably safe because adequate warnings or instructions
 6

 7
     were not provided.

 8          4.2.2     Alternatively Defendants failed to exercise reasonable care in the manufacture and

 9   design of the products.
10
            4.2.3     Alternatively Defendants breached express and implied warranties regarding the
11
     fitness and merchantability of the products.
12
            4.2.4     As a proximate result of Defendants’ wrongful actions, the Plaintiff suffered
13
     injuries in an amount to be determined at trial, for which Defendants are liable under RCW
14

15   7.72.030.

16          4.3       PRODUCTS LIABILITY RCW 7.72.040

17          4.3.1     The above paragraphs are fully incorporated herein by reference.
18
            4.3.2     The products were a trade name of the Defendant product sellers.
19
            4.3.3     The Defendant product sellers are liable for the injuries to Plaintiff to the same
20
     extent as a manufacturer under RCW 7.72.040.
21
            4.4       DAMAGES
22

23
            4.4.1     As the result of the acute lymphoblastic leukemia caused by exposure to said

24   chemicals and substances, Plaintiff Albert Chris Hesterman suffered pain, suffering, loss of

25   enjoyment of life and economic loss in the form of medical special damages and lost earnings.
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 1           4.4.2    As the result of the acute lymphoblastic leukemia, Plaintiff Lori Trochim incurred
 2
     lost earnings and other pecuniary damages while caring for Plaintiff Albert Chris Hesterman.
 3
                              V. JURY DEMAND PURSUANT TO FED.R.CIV.P. 38(b)
 4
             Plaintiff hereby requests that any and all of this aspects of this suit be tried before a jury
 5
      pursuant to Fed.R.Civ.P. 38(b), subject to the further order of this Court.
 6

 7
                                             VI.     RELIEF REQUESTED

 8           WHEREFORE, the Plaintiff prays as follows:

 9           1.      Judgment for money damages to be proven at time of trial;
10
             2.      Judgment for attorney’s fees, costs, and disbursements for this suit, including
11
     but not limited to the Plaintiff’s attorney fees and costs;
12

13           3.      Such other relief as the Court may deem just and proper.

14
             Dated this 17th day of December, 2018
15

16
      MAXWELL GRAHAM, P.S.
17

18

19
      Michael A. Maxwell, WSBA# 21781
20    Thomas J. Degan Jr., WSBA # 31513
      Attorneys for Plaintiffs
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     COMPLAINT FOR DAMAGES 6                                                         MAXWELL GRAHAM
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